      Case 4:99-cr-00207-SWW    Document 181      Filed 05/02/06   Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                          NO. 4:99CR00207-002 SWW

FRENANDO SAMPSON, JR.

                                     ORDER

      This matter is before the Court on the government’s motion to revoke the

supervised release previously granted this defendant in the United States

District Court for the Eastern District of Arkansas.      After statements on the

record, the Court again will continue this matter for a period of SIXTY DAYS to

see how defendant will comply with conditions of release.

      IT IS THEREFORE ORDERED that the hearing on the government’s motion to

revoke supervised release is continued for SIXTY DAYS, and defendant’s supervised

release shall be modified to include the following:

      1.    Defendant shall not drink alcohol and shall go to Alcoholics
            Anonymous meetings at the direction of the U. S. Probation
            Officer; and shall attend any other such meetings and
            participate in any other drug or alcohol treatment program as
            directed by the Probation Office.

      2.    Defendant shall go to work immediately and work full-time (40
            hours per week), if possible.

      All other conditions of defendant’s supervised release previously imposed

shall continue and remain in full force and effect.

      Defendant shall be released from custody of the United States Marshal

immediately, and a hearing on revocation of supervised release in this matter is

continued and rescheduled for Wednesday, July 5, 2006, at 1:00 p.m., in Room

#530, Richard Sheppard Arnold United States Courthouse, Little Rock, Arkansas.

      IT IS SO ORDERED this 2 nd day of May, 2006.



                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT COURT
